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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                            )
ANISSA JONES,                               )
                                            )
       PLAINTIFF,                           )   Civil Action No. 15-CV-505(BAH/GMH)
                                            )
       vs.                                  )
                                            )
DISTRICT OF COLUMBIA,                       )
                                            )
       DEFENDANT.                           )
                                            )

               PLAINTIFF’S MOTION FOR ATTORNEY FEES AND COSTS

       Plaintiff, through undersigned counsel, respectfully moves this honorable Court, to grant

the instant Motion for Attorney Fees and Costs and award Plaintiff the sum of $ 87,738.93. The

grounds for this Motion are set forth in the accompanying Memorandum of Points and

Authorities, Declaration of Elizabeth T. Jester, Esq., and Exhibits.

       Wherefore, Plaintiff respectfully requests that this Motion be granted.



Respectfully submitted,

/s/ Elizabeth T. Jester, Esq.
Elizabeth T. Jester, Esq.
JESTER AND WILLIAMS, LLC
P.O. Box 1165
Great Falls, VA 22066
Telephone: 703-757-8375
Fax: 703-757-8378
D.C. Bar Number 386813
Not admitted to practice in VA
